
980 So.2d 1108 (2008)
J.L., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 4D07-2385.
District Court of Appeal of Florida, Fourth District.
February 13, 2008.
Carey Haughwout, Public Defender, and Elisabeth Porter, Assistant Public Defender, West Palm Beach, for appellant.
Bill McCollum, Attorney General, Tallahassee, and Katherine Y. McIntire, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
We reverse a restitution order entered upon a withheld adjudication for burglary of a dwelling.
It was error to award restitution for repairs and items stolen or damaged, based on estimates of replacement value rather than fair market value. On remand, the trial court should use the fair market value in re-calculating the award for the following items: the carpet, recliner, knife, X-Box and games.
In all other respects, we find no reversible error or abuse of discretion and remand for a new restitution hearing.
STONE, POLEN and MAY, JJ., concur.
